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CRIMINAL COMPLAINT
United States District Court DISTRICT of ARIZONA
United States of America DOCKET NO.

Vv.
Ramon Antonio Monreal-Rodriguez

 

DOB: xx/xx/1986

U.S. Citizen | 18-00 76 3

 

 

Complaint for violation of Title 21, United States Code, section 846

 

COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:

Beginning at a time unknown, and continuing to on or about September 23, 2018, at or near the San Miguel Gate, in
the District of Arizona, Ramon Antonio Monreal-Rodriguez, named herein as defendant, did knowingly and
intentionally combine, conspire, confederate and agree with persons known and unknown, to possess with intent to
distribute 5 kilograms or more of cocaine, that is, approximately 41 kilograms of cocaine, a Schedule II controlled
substance; in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)Gi(D.

All in violation of Title 21, United States Code, Section 846.

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
The information in this complaint is based upon electronic communications between Monreal-Rodriguez, and Co-

Conspirator 1, mobile surveillance, covert video surveillance, GPS monitoring, and agent knowledge and experience.
At all times relevant to this complaint, Monreal-Rodriguez was employed by United States Border Patrol, as an
agent. The San Miguel Gate and surrounding area, Tucson, and the United States Border Patrol station are all located
within the District of Arizona.

On August 30, 2018, Monreal-Rodriguez, collected two bags containing “los chicos” (“the little ones”) from a
location to the east of the San Miguel Gate and just north of the of the Republic of Mexico/ United States border.
Based on context, per unit pricing, and agent experience, agents have determined that “los chicos” is code for
kilograms of hard narcotics, and is used to differentiate from “los grandes” (the large ones) which refers to kilograms
of marijuana. Monreal-Rodriguez then continued on his Border Patrol shift, but stayed in regular communication
with “Compadre,” an individual coordinating the smuggling effort from Mexico into the United States (hereafter,
“Co-Conspirator 1”). Monreal-Rodriguez informed Co-Conspirator 1 when he crossed through the border patrol
checkpoint. Monreal-Rodriguez transferred the bags containing “los chicos” from his USBP vehicle to his personal
use vehicle while at the Border Patrol station.

On September 17, 2018, at the direction of Co-Conspirator 1, Monreal-Rodriguez met with an unidentified individual
in Tucson, Arizona at approximately 5:40 pm. Based on context and agent experience, agents have determined this

meeting was for Monreal-Rodriguez to receive the initial cash payment for a large load of narcotics.

(Continued Page 2)

 

MATERIAL WITNESSES IN RELATION TO THE CHARGE:

 

DETENTION REQUESTED SIGNATURE OF COMPLAINANT
Being duly sworn, I declare that the foregoing is phi ante —

 

true an Copel to the best of my knowledge. OFFICIAL TITLE
GED/am~* . cpt
AUTHORIZED BY: AUSA Gordon E. Davenport III SPECIAL AGERT — FOL

 

Sworn to before me and subscribed in my presence.

 

 

 

 

 

SIGNATURE_QF MAGISTRATE JUDGE” DATE
CBee | October 22, 2018 onies Distributed

1) See Federal rules of Criminal Procedure Rules 3 and $4
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Ramon Antonio Monreal-Rodriguez
(Continued from Page 1) i8 = 0 0 / 6 3 AJ

Agents have confirmed that Monreal-Rodriguez took sick leave that day. Monreal-Rodriguez

coordinated with Co- -Conspirator 1, who then sent Monreal-Rodriguez a photograph of a ledger regarding

the “the account”. The ledger outlines an expected payment of $390,000 for “41” with an expected payment

to Monreal-Rodriguez of $56,020 for crossing (“cruse de”) and transport of (“traida”) of the “41.” Based
on context, price per unit, and agent experience, agents have determined the notation “41” refers to 41

kilograms of cocaine. '

On September 18, 2018, Monreal-Rodriguez started his 12:00 am to 8:00 am shift as a border patrol agent.
He arrived at the San Miguel Gate at approximately 1:40 am. Monreal-Rodriguez exchanged cash totaling
$333,980 and received the 41 kilograms of cocaine from individuals positioned near a wash to the east of
the gate at approximately 1:50 am. Monreal-Rodriguez retained the narcotics in his USBP vehicle for the
remainder of his shift. Monreal-Rodriguez confirmed the pickup of narcotics with Co-Conspirator 1
through verbal communication. Monreal-Rodriguez then distributed the narcotics to another co-
conspirator.

On September 20, 2018, via electronic communication, Monreal-Rodriguez confirmed the receipt for the
second part of the payment ($336,000) with Co-Conspirator 1.

On September 21, 2018, Co-Conspirator | instructed Monreal-Rodriguez to break down the currency in
his possession into $5,000 “bolas” so that the currency could be more easily smuggled while in Mexico.
Monreal-Rodriguez was also directed to pay $8,200 to another co-conspirator (on a per unit price of $200
per/kilo) for hi/her role in the effort. From ledgers acquired, Monreal-Rodriguez was to receive
approximately 3 kilograms of narcotics, $6,720 in transportation fees, and $3,600 in crossing fees as his
total fee from the second payment. Monreal-Rodriguez’s total cash receipt was $66,320 from the two

payments.

On September 22, 2018, Monreal-Rodriguez, while on shift with US Border Patrol and in his USBP
vehicle, transferred the remainder of the drug proceeds (approximately $317,000) to an unidentified :
individual at the United States/Mexico border at approximately 1:35am. Monreal-Rodriguez also received
his allocation of narcotics at that time. The total amount of currency transferred.into Mexico on September
18 and September 22 was approximately $650,000.

On September 25, 2018, during the execution of a search warrant on Monreal-Rodriguez’s home for
firearms related charges, agents seized approximately $62,000 in US currency from a cardboard box in the
master bedroom. The currency was banded and wrapped in black construction paper and accompanied by
an electronic money counter. A contemporaneous search of the center compartment of Monreal-
Rodriguez’s personal vehicle revealed approximately $3,900 in currency. The amount seized totals
approximately $66,000.
